
In re Beckner, Donald L.; Disciplinary Counsel, La. St. Bar; — Plaintiffs); applying for joint motion to reinstate.
ORDER
Considering the Joint Motion to Reinstate filed by Donald Beckner and the Office of Disciplinary Counsel;
IT IS HEREBY ORDERED that petitioner, Donald Beckner, be immediately reinstated to the practice of law, pursuant to the provisions of Supreme Court Rule XIX, § 19 D.
/s/ Harry T. Lemmon JUSTICE,
SUPREME COURT OF LOUISIANA
CALOGERO, C.J., not on panel, Rule IV, Part 2, § 3.
